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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
UNITED STATES OF AMERICA,


               -against-                                                         98-cr-1023 (LAK)


ADEL ABDEL BARY,

                     Defendant.
------------------------------------------x


                                 MEMORANDUM OPINION
                                      (Corrected)

               Appearances:

                              Andrew G. Patel
                              Attorney for Movant

                              Stephen J. Ritchen
                              Assistant United States Attorney
                              AUDREY STRAUSS
                              ACTING UNITED STATES ATTORNEY
                              Attorneys for Respondent


LEWIS A. KAPLAN, District Judge.

               Defendant was a member of a terrorist organization affiliated with al Qaeda that

sought to overthrow the government of Egypt. While based in the United Kingdom, he disseminated

propaganda surrounding the al Qaeda’s bombing of the American embassies in Kenya and Tanzania

in 1998. Following his extradition to the United States, he pled guilty on October 1, 2014 to

conspiring to murder U.S. nationals outside the United States, conspiring to make threats concerning

an attempt to kill, injure, and intimidate an individual and unlawfully to damage and destroy

property by means of an explosive, and making threats concerning the same. The Court sentenced

defendant to the statutory maximum sentence of 300 months in prison on February 6, 2015. He is
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scheduled for release on October 28, 2020. The Court is informed that he is the subject of an

immigration detainer that will result in his removal to the United Kingdom upon his release.

               Before the Court is defendant’s motion for compassionate release pursuant to 18

U.S.C. § 3582(c). Defendant contends that his confinement in a Bureau of Prisons facility places

him at a heightened risk of contracting COVID-19, and that his medical conditions would expose

him to serious health consequences were he to become ill. He notes that he is 60 years old and

asserts that he suffers from asthma, which the government does not dispute.

               Under 18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act, the Court may

modify a term of imprisonment upon a defendant’s motion only “after the defendant has fully

exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.’”1 Defendant sent a request asking “to be considered for

early home confinement under the Cares Act, COV-19” on May 26, 2020, which was denied on an

unspecified date.2   The government argues that this request did not satisfy the exhaustion

requirement because defendant requested home confinement, not compassionate release.

               The government is correct that “requests for home confinement and for furlough are

not requests for compassionate release.”3 But defendant’s failure to exhaust his administrative

remedies is not necessarily dispositive. Although the district courts of this circuit are not of one


       1

               18 U.S.C. § 3582(c)(1)(A).
       2

               Dkt. 2154, Ex. A.
       3

               United States v. Merlo, No. 17-CR-0738 (LAK), 2020 WL 3001039, at *1 (S.D.N.Y. June
               4, 2020).
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mind on this subject, there are several reasons for concluding that Section 3624(c)’s exhaustion

requirement is not jurisdictional and can be waived by a district court in certain circumstances.4

                To begin, the Supreme Court has instructed that unless Congress “has ‘clearly stated’

that [a] rule is jurisdictional,” courts should treat it as nonjurisdictional.5 Section 3624(c) does not

purport to create a jurisdictional exhaustion requirement. In fact the Second Circuit has stated that

Section 3582(c)(2), a related provision, is not jurisdictional.6 Without a clear statement from

Congress that it intended to bootstrap a district court’s jurisdiction to hear a compassionate release

motion to the exhaustion provision, the Court joins the many others in this district that have declined

to read such a requirement into the statute.7 “Section 3582(c)(1)(A) is a claim-processing rule,

rather than a jurisdictional one.” 8

                The question then becomes whether the exhaustion requirement may be waived by

the Court and, if so, in what circumstances. “Even where exhaustion is seemingly mandated by

statute or decisional law, the requirement is not absolute.”9 The Second Circuit and Supreme Court

        4

                See United States v. Haney, No. 19-CR-541 (JSR), 2020 WL 1821988, at *2-3 (S.D.N.Y.
                Apr. 13, 2020).
        5

                Sebelius v. Auburn Reg’l Med. Ctr., 568 U.S. 145, 153 (2013) (citation and brackets
                omitted).
        6

                Cf. United States v. Johnson, 732 F.3d 109, 117 & n.11 (2d Cir. 2013).
        7

                See Haney, No. 19-CR-541 (JSR), 2020 WL 1821988, at *1 n.1 (citing cases). Several
                courts in this circuit have gone the other way on this issue. See id. This Court finds the
                former view more persuasive.
        8

                United States v. Russo, No. 16-cr-441 (LJL), 2020 WL 1862294, at *5 (S.D.N.Y. Apr. 14,
                2020).
        9

                Washington v. Barr, 925 F.3d 109, 118 (2d Cir. 2019).
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have held that, in general, “exhaustion may be unnecessary” if (1) “it would be futile, either because

agency decisionmakers are biased or because the agency has already determined the issue,” (2)

where “the administrative process would be incapable of granting adequate relief,” or (3) “where

pursuing agency review would subject plaintiffs to undue prejudice.” 10

                The third set of circumstances is present here. Defendant is due to be released from

prison in fewer than thirty days. Thus, even if he immediately submitted a letter to the warden

requesting compassionate release, his receipt of that relief would turn on whether the warden

responded promptly and affirmatively. Thus, absent the ability to raise his arguments on this

motion, defendant would have only a doubtful and uncertain avenue to seek compassionate release.

Enforcing an exhaustion requirement to bar defendant from any opportunity to seek relief would be

unduly prejudicial.

                The purpose of Section 3582(c) reinforces this conclusion. The statute is not built

around the idea that courts would be better able to adjudicate compassionate release motions if they

first receive the warden’s opinion. In fact, the statute does not require the warden to offer an opinion

at all. The defendant gains the right to file a motion in court when the warden denies a motion or

if the warden does not respond within thirty days. Even where the warden denies a request, a court

is under no obligation to defer to that decision. And, more fundamentally, the question of whether

a defendant should be released calls for the application of a legal standard, which is not a task for

which a warden has any special expertise. As other courts have noted, this scheme “unquestionably




        10

                See id. at 118-19 (citing McCarthy v. Madigan, 503 U.S. 140, 146 (1992)).
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reflects congressional intent for the defendant to have the right to a meaningful and prompt judicial

determination of whether he should be released.”11

               Because strictly enforcing the exhaustion requirement on these facts as a practical

matter would prohibit this defendant from seeking a judicial determination on his motion for

compassionate release, the Court waives the requirement. It thus turns to the merits of the motion.

               Where the exhaustion requirement is met, a court may modify a defendant’s sentence

if (1) there are “extraordinary and compelling reasons” warranting a sentence modification and (2)

the modification is supported by the factors set forth in 18 U.S.C. § 3553(a). 12

               The government concedes that defendant has provided extraordinary and compelling

reasons for his release. It notes that, according to the current guidance from the Centers for Disease

Control (“CDC”), asthma may increase the health risks of one who contracts COVID-19 but the

linkage is not as clear as it is for other conditions, such as obesity or heart disease.13 However, the

government notes that defendant was diagnosed as obese in 2019 and that, as of April 2020, his body

mass index was 36, which is well above the threshold for obesity. On that basis, the government

concedes that defendant has presented an extraordinary and compelling circumstance.




       11

               Russo, No. 16-cr-441 (LJL), 2020 WL 1862294, at *1 (citation omitted, emphasis added).
       12

               18 U.S.C. § 3582(c)(1)(A)(i). Federal district courts are not bound by the policy statements
               issued by the Sentencing Commission. See United States v. Brooker, No. 19-3218-CR,
               2020 WL 5739712, at *6 (2d Cir. Sept. 25, 2020).
       13

               See PEOPLE WITH CERTAIN MEDICAL CONDITIONS, CENTERS FOR DISEASE CONTROL AND
               PREVENTION, (last updated Oct. 7, 2020),
               https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medica
               l-conditions.html.
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               Accordingly, the dispute turns on the sentencing factors set forth in 18 U.S.C.

§ 3553(a). “Those factors include: (1) ‘the nature and circumstances of the offense and the history

and characteristics of the defendant,’ (2) ‘the need for the sentence imposed’ to, among other

objectives, ‘provide just punishment for the offense,’ and (3) the Sentencing Guidelines range.” 14

               Defendant played a role in a terrorist enterprise. The bombing of two United States

embassies, resulting in the deaths of hundreds of people, was an extremely serious crime. Defendant

was part of the conspiracy that produced those attacks. But his participation is better characterized

as spreading propaganda in coordination with the individuals who authorized the attacks. That too

was a serious crime, but it was not nearly as serious as the crimes of his co-conspirators.

               In addition to this consideration is the fact that defendant has served nearly all of his

sentence. No matter how the Court resolves this motion, he is due to be released from prison before

the end of the month. Defendant’s obesity and somewhat advanced age make COVID-19

significantly more risky to him than to the average person. And his continued incarceration

increases his risk of catching the virus. In these circumstances, the benefit to society of requiring

defendant to serve the final few weeks of his sentence does not outweigh the serious health risks he

faces.

               Given the very narrow difference between defendant’s release date absent

compassionate release and his release date if his motion were granted, one well may ask whether

the grant or denial of this motion is of any practical significance. Indeed, events may prove that it

would have none. But the opposite outcome also is possible, and that possibility is why this motion

is of real importance.


         14


               Merlo, No. 17-cr-0738 (LAK), 2020 WL 3001039, at *3 (quoting 18 U.S.C § 3553(a)).
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               Defendant is 60 years old. He has been incarcerated for a very long time. Whether

he is released now or on October 28, he will be at significant risk of COVID-19 infection. Should

he contract the virus, his age, obesity and existing respiratory illness would result in a significant

risk of a fatal outcome. So the importance of this motion is this: the sooner defendant’s remaining

days of imprisonment end, the greater the chance – in the event he contracts the virus and the virus

proves fatal to him – that he could spend his last days or hours with his family rather than in a jail

cell.

               Defendant’s crimes, as the government contends, were terrible – so much so that this

Court initially questioned the government’s decision to allow him to plead guilty to reduced

charges.15 Nevertheless, the government’s interest in keeping him incarcerated for a few more days

by resisting this motion is very small. It is not sufficient to keep him away from his family in what

could prove to be the final period of his life. As Shakespeare wrote:

                               “The quality of mercy is not strained.
                               It droppeth as the gentle rain from heaven
                               Upon the place beneath. It is twice blest:
                               It blesseth him that gives and him that takes.
                               ’Tis mightiest in the mightiest; it becomes
                               The thronèd monarch better than his crown.
                               His scepter shows the force of temporal power,
                               The attribute to awe and majesty
                               Wherein doth sit the dread and fear of kings;
                               But mercy is above this sceptered sway.
                               It is enthronèd in the hearts of kings;
                               It is an attribute to God Himself;
                               And earthly power doth then show likest God’s
                               When mercy seasons justice.”16



        15

               United States v. Bary, 57 F. Supp. 3d 300 (S.D.N.Y. 2014).
        16

               William Shakespeare, The Merchant of Venice, Act IV, Scene 1.
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                  This is a case in which the earthly power of the United States should allow mercy to

season justice.



                                              Conclusion

                  Defendant's motion for compassionate release [Dkt. 2154] is granted. His term of

imprisonment is modified so that it expires on October 9, 2020. Subject to any immigration detainer,

he shall be released on that date .

                  SO ORDERED.

Dated:            October 8, 2020



                                                                Lewis A. K plan
                                                           United States District Judge
